             Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 1 of 12



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ADAMS-BURCH, LLC,
1901 Stanford Court                                                 19-cv-1662
Landover, Maryland 20785                           CIVIL CASE NO. _____________________

              Plaintiff,
       vs.                                          COMPLAINT

DBGA LLC
400 Massachusetts Avenue NW, #1219
Washington, D.C. 20001

ILYA ALTER
400 Massachusetts Avenue NW, #1219
Washington, D.C. 20001

DIMITRI CHEKALDIN
1400 Church Street NW, Unit 311
Washington, D.C. 20005

              Defendants.


       COMES NOW, Plaintiff, Adams-Burch, LLC with its Complaint (“Complaint”)

against the Defendants DBGA, LLC (“DBGA”), Ilya Alter (“Alter”), and Dimitri Chekaldin

(“Chekaldin”), (collectively, the “Defendants”) on the following grounds:

                            I.      NATURE OF THE CLAIMS

       1.     This action arises from Defendants’ failure to satisfy their obligation to pay

Adams-Burch for hundreds of thousands of dollars in foodservice equipment and restaurant

accoutrements, which Defendants’ fraudulently induced Adams-Burch to provide despite having

no intent to pay. Defendants entered agreements and issued fraudulent bank authorizations as

part of a conspiracy to gain Adams-Burch’s trust in delivering these very expensive and

specialized products and services. At present, Defendants are operating at least two foodservice
             Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 2 of 12



establishments using equipment, small wares, flat wares, and table top wares misappropriated

from Adams-Burch.         As a result of the Defendants’ wrongful actions, inactions, and

misrepresentations, Adams-Burch has sustained significant and substantial damages.

                                       II.     PARTIES

       2.      Plaintiff Adams-Burch, LLC, is a Delaware limited liability company with its

principal place of business located at 1901 Stanford Court, Landover, Maryland 20785.

       3.      Defendant DBGA LLC is a Washington, District of Columbia, limited liability

company with its principal place of business at 400 Massachusetts Ave., NW #1219,

Washington, District of Columbia 20001. DBGA can be served through its registered agent, Ilya

Alter at 400 Massachusetts Ave., NW #1219, Washington, District of Columbia 20001.

       4.      Defendant Ilya Alter is an individual residing in the District of Columbia at 400

Massachusetts Ave., NW #1219, Washington, District of Columbia 20001. Mr. Alter is a

governor and executing officer of DBGA.

       5.      Defendant Dimitri Chekaldin is an individual residing in the District of Columbia

at 1400 Church Street NW, Unit: 311, Washington, District of Columbia 20005. Mr. Chekaldin

is a governor and executing officer of DBGA.

                            III.   JURISDICTION AND VENUE

       6.      Adams-Burch incorporates by reference each of the preceding paragraphs as if

fully rewritten herein.

       7.      Upon information and belief, Defendant DBGA is a corporation formed, existing,

and located in the District of Columbia and it has no members who are citizens or residents of

the State of Maryland.

       8.      Upon information and belief, Defendants Alter and Chekaldin are residents of the

District of Columbia and do not reside in the State of Maryland.

                                                2
             Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 3 of 12



       9.      Adams-Burch is Delaware limited liability company with its principal place of

business in the State of Maryland. It has no offices in the District of Columbia and no members

who are citizens or residents of the District of Columbia.

       10.     This Court has jurisdiction over this dispute pursuant to 28 U.S.C. § 1332 because

it is between citizens of different States, and the amount in controversy, exclusive of interest and

costs, exceeds $75,000.00.

       11.     Venue is proper in this Court under 28 U.S.C. 5§§ 1391(a) and 1391(b) because a

substantial part of the events and omissions material to Plaintiff’s causes of action occurred in

this District, the property that is the subject of the action is situated in this District, and all

Defendants are subject to personal jurisdiction in this District at the time this action is

commenced.

                                          IV.     FACTS

       12.     On November 14, 2016, Alter and Chekaldin registered DBGA as a limited

liability company for the purpose of opening several foodservice and drinking establishments

under the “Dacha” trade name, including the Dacha Navy Yard and Dacha Beer Garden (the

“Dacha Establishments”).

       13.     To open, run, and operate those establishments, Alter and Chekaldin needed to

acquire large scale foodservice equipment, such as walk-in freezers, ovens, and beer taps, and

small wares, flat wares, and tabletop items, such as cutlery, plates, and glasses.

       14.     Adams-Burch is a specialist in the business of furnishing and installing equipment

and fixture packages for hotels, restaurants, resorts, prisons, stadiums, hospitals and other

establishments catering to the public and located nationally and abroad.




                                                  3
              Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 4 of 12



        15.      On July 6, 2018, Alter and Chekaldin caused DBGA to enter a Master

Procurement and Sales Agreement with Adams-Burch (the “Agreement”). Exhibit A. The

Agreement governs all purchases from Adams Burch by the Defendants for use at the Dacha

Establishments.

        16.      Defendants agreed that Adams-Burch would be “paid via check, ACH, or

electronic wire” (Section 2.1); that payments on larger equipment would be made at set

scheduled intervals while payments on the small ware and flat ware items due within 15 days of

the date of invoice, and that interest would accrue at the rate of 1.5% per month on all late

payments. Exhibit A, “Terms of Sale” Article 14.

        17.      The Agreement further provides that “[i]n the event of any litigation… the

prevailing party in such litigation shall be entitled to reasonable attorneys’ fees (and, if

applicable, court and other costs). Exhibit A, Section 5.7.

        18.      Defendants proceeded to order hundreds of thousands of dollars of foodservice

equipment, small wares, flat wares, and table top items, from Adams-Burch for the Dacha

Establishments.

        19.      Adams-Burch began delivery of the orders, but raised concern when payments

became routinely late and in some instances, never arrived.

        20.      To convince Adams-Burch that payment was assured, in or around January 8,

2019, Alter directed Chekaldin to sign an ACH authorization allowing Adams-Burch to draw

directly from Alter’s “Eagle Bank” account on a monthly basis, and on May 14, 2019, Alter

provided Adams-Burch with a “Credit Card Payment Authorization” allowing for charges to be

made against a credit card bearing his name.1


1
 The ACH and Credit Card Authorizations are not attached as exhibits to this complaint as they contain sensitive
banking information, and if necessary as future exhibits, will be filed under seal.

                                                         4
             Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 5 of 12



       21.     On May 28, 2019, Adams-Burch issued statements reflecting overdue balances

for foodservice equipment ($184,269.59); and for small wares, flat wares, and table top items in

the amounts of $88,663.35 and $4,520.59. See Exhibit B.

       22.     Interest has been accruing on those outstanding balances at the rate of 1.5% per

month—in some instances—for over six months.

       23.     In May 2019, Adams-Burch issued a $23,614.05 charge against the credit card

and a $4,520.59 draw from the ACH, in an effort to pay down the $93,183.94 balance owed for

the small wares, flat wares, and table top items, ordered by and delivered to the Defendants.

       24.     In response, Defendant Alter accused Adams-Burch of fraud, had the charges

reversed, and revoked authorization for Adams-Burch to charge from the ACH and his credit

card, leaving Adams-Burch with no means of receiving payment for the $277,453.53, which

remains outstanding and which continues to accrue interest at the rate of 1.5% per month.

       25.     It is clear, based on their acts, that each of the Defendants (1) fraudulently

misrepresented that they would pay for products and services ordered from Adams-Burch with

the express intent and purpose of securing hundreds of thousands of dollars in products and

services from Adams-Burch despite having no intent on paying; and (2) that Alter and Chekaldin

fraudulently induced Adams-Burch to continue delivery of products and services by issuing

ACH and credit card authorizations to Adams-Burch, even though they intended to challenge any

balances charged against those accounts by Adams-Burch.

       26.     Those   fraudulent   and    material   misrepresentations—among       others—were

intentionally made by Alter and Chekaldin with the express purpose of inducing Adams-Burch to

rely on the same, and Adams-Burch did reasonably rely to its detriment by continuing to deliver

products and services to Defendants for which they now refuse to pay.



                                                5
                Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 6 of 12



          27.    As a result of Defendants’ willful, knowing, purposeful, fraudulent and negligent

acts and omissions, Adams-Burch has been caused to suffer severe and substantial financial

damages for which the Defendants are liable.

                                  V.      CAUSES OF ACTION

          28.    The following causes are alleged in the alternative, but only to the extent

necessary.

                                          COUNT ONE
                               Breach of Contract (Against DBGA)

          29.    Adams-Burch incorporates by reference each of the preceding paragraphs as if

fully rewritten herein.

          30.    DBGA breached the terms of its Agreement with Adams-Burch by refusing to pay

for the goods and services provided by Adams-Burch under the Agreement.

          31.    DBGA’s breach was either intentional or, alternatively, negligent.

          32.    DBGA is liable to Adams-Burch for its direct and consequential damages and for

reimbursement of Adams-Burch’s costs and attorneys’ fees incurred by having to bring this

action.

          33.    Adams-Burch has suffered direct and consequential damages by reason of DBGA

breach in an amount to be proven at trial.


                                        COUNT TWO
                                 Fraud (Against All Defendants)

          34.    Adams-Burch incorporates by reference each of the preceding paragraphs as if

fully rewritten herein.

          35.    Defendants made numerous material false statements to Adams-Burch and

omissions of fact, as set forth in more detail in this Complaint, including, but not limited to,


                                                  6
             Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 7 of 12



misrepresentations concerning their intent to pay for the products and services ordered from

Adams-Burch, and through the fraudulent ACH and credit authorizations that they purported to

issue in order to assure Adams-Burch of such payment.

       36.     Those misrepresentations and omissions were material in that they caused Adams-

Burch to continue performing its obligations under, and not to terminate, the Agreement, and

because they prevented Adams-Burch from avoiding the damages it suffered as a result of

Defendants’ conduct, unreimbursed expenditures it made, and other costs it incurred.

       37.     The Defendants’ fraudulent misrepresentations also deprived Adams-Burch of its

right to receive payment because Defendants wrongfully and intentionally lulled Adams-Burch

into believing that payment would be made, when in fact, Defendants were taking steps to

prevent Adams-Burch from receiving payment.

       38.     Defendants unlawfully, wrongfully, and fraudulently secured and retained

Adams-Burch’s efforts and expenditures as Defendants’ kitchen designer and provider of all

accoutrements necessary to run the Dacha Establishments without Defendants paying Adams-

Burch what Defendants had agreed to pay Adams-Burch in return. Defendants knowingly made

the misrepresentations set forth in this Complaint to Adams-Burch, which were accompanied by

fraud, ill-will, recklessness, wantonness, oppressiveness, and willful disregard of Adams-Burch’s

rights with evil motive or actual malice.

       39.     Defendants made the misrepresentations and omissions set forth above knowing

them to be false, or they were aware that they did not know whether such misrepresentations

were true or false, and Defendants made those misrepresentations and omissions with the intent

to have Adams-Burch act in reliance on them.

       40.     Adams-Burch relied on those misrepresentations and its reliance was justified.



                                               7
             Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 8 of 12



       41.     By relying on the misrepresentations, Adams-Burch sustained significant

damages in an amount to be proven at trial.

                                    COUNT THREE
       Negligent Misrepresentation and Constructive Fraud (Against All Defendants)

       42.     Adams-Burch incorporates by reference each of the preceding paragraphs as if

fully rewritten herein.

       43.     Defendants made numerous false statements of material fact and withheld or

failed to convey material information to Adams-Burch which Defendants had a duty to disclose

to Adams-Burch, as set forth more fully in this Complaint.

       44.     Adams-Burch reasonably relied on the false and withheld information provided

by Defendants.

       45.     These misrepresentations and omissions were material in that they caused Adams-

Burch to continue performing its obligations under, and not to terminate, the Agreement, and

because they prevented Adams-Burch from avoiding the damages it suffered as a result of

Defendants’ misconduct, including unreimbursed expenditures it made, and other costs it

incurred.

       46.     The Defendants’ negligent misrepresentations also deprived Adams-Burch of its

right to receive payment because Defendants negligently lulled Adams-Burch into believing that

payment would occur, when in fact, Defendants were taking steps to prevent Adams-Burch from

receiving payment.

       47.     Due to their close working relationship on the Dacha Establishments for nearly a

year, the Defendants knew that Adams-Burch relied on information that the Defendants were

providing regarding all aspects of the Dacha Establishments.




                                               8
              Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 9 of 12



        48.        Defendants’ actions have caused damages to Adams-Burch in an amount to be

proven at trial.

                                         COUNT FOUR
                            Unjust Enrichment (Against All Defendants)

        49.        Adams-Burch incorporates by reference each of the preceding paragraphs as if

fully rewritten herein.

        50.        Adams-Burch conferred significant benefits on the Defendants by performing

substantial work on the Dacha Establishments, delivering significant amounts of extremely

expensive foodservice equipment and other accoutrements making the Dacha Establishments

more valuable, and materially advancing the Dacha Establishments. Defendants accepted these

benefits without objection or reservation.

        51.        By failing to provide Adams-Burch with payment and other compensation earned

by Adams-Burch for the work it performed for Defendants relating to the Dacha Establishments,

Defendants have knowingly received or will knowingly receive a benefit at Adams-Burch’s

expense.

        52.        Under the circumstances, it would be unjust, unfair, and inequitable for

Defendants to retain the benefit without paying Adams-Burch for its value.

        53.        Defendants’ actions have caused Adams-Burch to incur damages in an amount to

be proven at trial.

                                          COUNT FIVE
                    Civil Conspiracy to Commit Fraud (Against All Defendants)

        54.        Adams-Burch incorporates by reference each of the preceding paragraphs as if

fully rewritten herein.

        55.        Defendants agreed and sought to accomplish the object of unlawfully, wrongfully,

and fraudulently securing Adams-Burch’s efforts and expenditures as Defendants’ designer,
                                                   9
                Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 10 of 12



builder, and supplier of all equipment and accoutrements for the Dacha Establishments without

Defendants paying Adams-Burch what Defendants had agreed to pay Adams-Burch in return.

Defendants’ fraudulent misrepresentations are set forth in more detail throughout this Complaint.

          56.     Defendants had a meeting of the minds on the object or course of action in

fraudulently securing Adams-Burch’s efforts and expenditures as Defendants’ designer, builder,

and supplier of all equipment and accoutrements for the Dacha Establishments without

Defendants paying Adams-Burch what Defendants had agreed to pay Adams-Burch in return.

          57.     Defendants committed one or more unlawful overt acts in unlawfully securing

Adams-Burch’s efforts and expenditures as Defendants’ designer, builder, and supplier of all

equipment and accoutrements for the Dacha Establishments without Defendants paying Adams-

Burch what Defendants had agreed to pay Adams-Burch in return, including knowingly making

the misrepresentations set forth in this Complaint.

          58.     Adams-Burch has sustained damages as the proximate result of Defendants’

conspiracy to unlawfully secure Adams-Burch’s efforts and expenditures as Defendants’

designer, builder, and supplier of all equipment and accoutrements for the Dacha Establishments

without Defendants paying Adams-Burch what Defendants had agreed to pay Adams-Burch in

return.

                                         COUNT SIX
                       Aiding and Abetting Fraud (Against All Defendants)

          59.     Adams-Burch incorporates by reference each of the preceding paragraphs as if

fully rewritten herein.

          60.     Defendants knowingly gave substantial assistance to each other in unlawfully

securing Adams-Burch’s efforts and expenditures as Defendants’ designer, builder, and supplier

of all equipment and accoutrements for the Dacha Establishments without Defendants paying

                                                10
             Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 11 of 12



Adams-Burch what Defendants had agreed to pay Adams-Burch in return, including knowingly

making the misrepresentations set forth in this Complaint.

       61.     Each Defendant was aware of its role as part of the overall unlawful and

fraudulent activity at the time that it knowingly provided its assistance to the other Defendants in

unlawfully securing Adams-Burch’s efforts and expenditures as Defendants’ designer, builder,

and supplier of all equipment and accoutrements for the Dacha Establishments without

Defendants paying Adams-Burch what Defendants had agreed to pay Adams-Burch in return,

including knowingly making the misrepresentations set forth in this Complaint.

                                  VI.      REQUEST FOR RELIEF

       62.     WHEREFORE, Plaintiff, Adams-Burch LLC, respectfully prays that the Court

will enter judgment as follows:

               a. For Plaintiff’s actual damages, costs of suit, fees of experts, interest as

                    required under the Agreement and as permitted by law both from the date of

                    occurrence to the date of entry of judgment, as well as post-judgment interest

                    until paid;

               b. For the attorneys’ fees, costs and expenses incurred by Plaintiff in prosecuting

                    this action, as allowed by the Agreement;

               c. For all unpaid accounts receivable owed by Defendants to Plaintiff;

               d. For a constructive trust in Plaintiff’s favor in an amount equal to Defendants’

                    liabilities to Plaintiff;

               e. For punitive damages; and

               f.   For such other and further relief as the Court may deem just and proper.

                                            JURY DEMAND

       Plaintiff hereby demands a jury trial on all issues so triable.

                                                 11
           Case 1:19-cv-01662 Document 1 Filed 06/06/19 Page 12 of 12



Dated this 6th day of June, 2019

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                                            12
